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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CASE NO. 22-cr-116 (CJN)
                v.                             :
                                               :
DAVID JOSEPH GIETZEN,                          :
                                               :
                       Defendant.              :

                                              ORDER

         Based upon the representations in the Unopposed Motion To Continue Status Hearing and

to Exclude Time Under the Speedy Trial Act, and upon consideration of the entire record, it is

hereby

         ORDERED that the Motion is GRANTED; it is further

         ORDERED that the currently scheduled status hearing on December 16, 2022 be

continued for good cause to February 17, 2023 at ____a.m./p.m.; and it is further

         ORDERED that the time between December 16, 2022 and February 17, 2023 shall be

excluded from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court

finds that the ends of justice served by the granting of such a continuance outweighs the best

interests of the public and the defendant in a speedy trial, as a continuance will provide the parties

additional time to continue negotiating a potential pretrial resolution, and additional time to review

discovery.




                                       ___________________________________________
                                       THE HONORABLE CARL J. NICHOLS
                                       UNITED STATES DISTRICT JUDGE
